      Case 1:14-cr-00068-LGS         Document 289           Filed 02/24/16        Page 1 of 1
         Case 1:14-cr-00068-KBF Document 288 Filed 02/23/16 Page 1of1


                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio l Mollo Building
                                                    One Saint Andrew's Plaza
                                                    NewYork,NewYork 10007


                                                    February 23, 2016

By ECF                                                              USOC SONY
                                                                    J)OCUMENT
Hon, Katherine B. Forrest
United States District Judge                                        ELECTRONICALLY FILED '
Southern District of New York                                       DOC#:                i
Daniel Patrick Moynihan U.S. Courthouse
                                                                    DATE FILEDfFR 2 4 2016 I
500 Pearl Street
New York, New York I 0007

                Re:    United States v. Ross William Ulbricht, Sl 14 Cr. 68 (KBF)

Dear Judge Forrest:

        The Government respectfully requests that the Court order the Clerk to terminate the
appearance of undersigned counsel in this matter. AUSA Timothy Howard will remain counsel
of record in the case.

                                                    Respectfully,

                                                     PREET BHARARA




                                              By:

                                                     Assistant United States Attorney
                                                     Southern District of New York

cc:      Joshua Orate!, Esq.




                                            ~ 6v~/
                                             /d·~
                                                       v..10J
                                      )-/.}1J1c.
                                                                                    111. . . . . . . . . . . . . . . . . . . . . ..
